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 3
                                UNITED STATES DISTRICT COURT
 4
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5
                                    SAN FRANCISCO DIVISION
 6

 7 NETLIST, INC.,                                      Case No: 4:09-cv-05718 RS
 8                Plaintiff,                           ORDER ON PARTIES’
                                                       STIPULATION RE: EXPEDITING
 9         vs.                                         BRIEFING AND HEARING
10 GOOGLE LLC,

11                Defendant.
12
     AND RELATED COUNTERCLAIM.
13

14          Netlist, Inc.’s Motion for Leave to Amend Infringement Contentions is currently set for
15   hearing on June 23, 2022. Dkt. 269. Google LLC’s Motion to Stay is currently set for hearing
16   on July 14, 2022. Dkt. 292. As acknowledged by the parties, it would be more efficient to
17   hear both of these motions and hold the case management conference on the same day. See
18   Dkt. 294. Based on calendar availability, Netlist’s Motion for Leave to Amend Infringement
19   Contentions and the case management conference are continued to July 14, 2022, at 1:30 p.m.,
20   to be heard together with Google’s Motion to Stay. This Order terminates Dkt. 294.
21          IT IS SO ORDERED.
22   Dated: June 17, 2022
23

24                                                    _______________________
                                                      Richard Seeborg
25                                                    Chief United States District Judge
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